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 1   BRUCE LOCKE (#177787)
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 3   (916) 569-0667
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 4   Attorneys for
     Enrique Morales
 5
 6                              IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-07-314 LKK
                                         )
 9                     Plaintiff,        )                 STIPULATION AND
                                         )                 CONTINUING THE STATUS
10                                       )                 CONFERENCE FROM OCTOBER 30,
           v.                            )                 2012 TO DECEMBER 11, 2012
11                                       )
     ENRIQUE MORALES,                    )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          The defendants, by and through their attorneys, and the United States by and through its
15   attorney, Kyle Reardon, hereby stipulate that the Status Conference currently scheduled for October
16   30, 2012 at 9:15 a.m., should be continued to December 11, 2012 at 9:15 a.m. The additional time
17   is required for the government to provide the defense with additional discovery. Accordingly, the
18   time between October 30, 2012 and December 11, 2012 should be excluded from the Speedy Trial
19   calculation pursuant to Title 18 United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4
20   for defense preparation.     The parties stipulate that the ends of justice served by granting this
21   continuance outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
22   §3161(h)(7)(A). Mr. Reardon and the other defense attorneys have authorized Mr. Locke to sign
23   this document for them.
24
25   DATED: October 27, 2012                                   /S/ Bruce Locke
                                                           BRUCE LOCKE
26                                                         Attorney for Enrique Morales
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29                                                    1
              Case 2:07-cr-00314-KJM Document 170 Filed 10/29/12 Page 2 of 2


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 2
 3   DATED: October 27, 2012                                   /S/ Bruce Locke
                                                           KELLY BABINEAUX
 4                                                         Attorney for Jose Luis Morales
 5
     DATED: October 27, 2012                                   /S/ Bruce Locke
 6                                                         DINA SANTOS
                                                           Attorney for Juan Morales
 7
 8   DATED: October 27, 2012                                   /S/ Bruce Locke
                                                           TIMOTHY F. WARRINER
 9                                                         Attorney for Teresa Maria Morales
10
     DATED: October 27, 2012                                   /S/ Bruce Locke
11                                                         DONALD P. DORFMAN
                                                           Attorney for Petra Preciado Morales
12
13   DATED: October 27, 2012                                  /S/ Bruce Locke
                                                           For KYLE REARDON
14                                                         Assistant United States Attorney
15
16                                                ORDER
17          Based on the reasons set forth in the stipulation of the parties filed on October 29, 2012, and
18   good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT
19   IS HEREBY ORDERED that the status conference currently scheduled for Tuesday, October 30,
20   2012, be continued to Tuesday, December 11, 2012 at 9:15 a.m. The Court finds that the ends
21   of justice served by granting such a continuance outweigh the best interests of the public and the
22   defendant in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated
23   in the parties’ October 29, 2012, stipulation, the time within which the trial of this matter must be
24   commenced under the Speedy Trial Act is excluded during the time period from October 30, 2012,
25   through and including December 11, 2012, pursuant to 18 U.S.C. §3161(h)(7)(A) [reasonable time
26   to prepare] and Local Code T4.
27
     DATED: October 29, 2012
28
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